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                 Exhibit A
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 1   [Counsel Listed on Signature Pages]
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 7
                                     UNITED STATES DISTRICT COURT
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 9                                 NORTHERN DISTRICT OF CALIFORNIA

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11   IN RE: SOCIAL MEDIA ADOLESCENT
     ADDICTION/PERSONAL INJURY                           Case No. 4:22:MD-03047-YGR (PHK)
12   PRODUCTS LIABILITY LITIGATION
                                                         MDL No. 3047
13
     THIS DOCUMENT RELATES TO:
14                                                       META DEFENDANTS’ AMENDED
     People of the State of California, et al. v. Meta   NOTICE OF DEPOSITION TO PLAINTIFF
15   Platforms, Inc. et al.,                             COMMONWEALTH OF KENTUCKY
     Case No.: 4:23-cv-05448                             PURSUANT TO FEDERAL RULE OF
16
                                                         CIVIL PROCEDURE 30(b)(6)
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      META DEFENDANTS’ NOTICE OF DEPOSITION TO PLAINTIFF COMMONWEALTH OF KENTUCKY PURSUANT TO FEDERAL RULE OF
                                                 CIVIL PROCEDURE 30(b)(6)
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 1          PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure,

 2   Defendants Meta Platforms, Inc., Instagram, LLC, Meta Payments, Inc., and Meta Platforms

 3   Technologies, LLC (collectively, “Defendants”), by their attorneys, will take the deposition upon oral

 4   examination of Plaintiff Commonwealth of Kentucky (“Plaintiff”). The deposition will begin at 9:00 am

 5   on February 28, 2025, at the offices of Covington & Burling LLP, 1999 Avenue of the Stars, Los Angeles,

 6   California, 90067-4643, or at some other time and place mutually agreed upon by counsel.

 7          Plaintiff shall designate one or more officers, directors, managing agents, employees, or other

 8   persons who consent to testify on its behalf to the extent of information known or reasonably known by

 9   Plaintiff or any of its agents concerning the topics set forth in Schedule A. The person(s) designated to

10   testify as to each topic should have knowledge of the topic, the documents referring to or relating to the

11   topic, and the identity of other persons with knowledge of the topic.

12          The deposition will be taken before a qualified, certified shorthand reporter or other officer

13   authorized by law to administer oaths and will continue on the day noticed and for additional days, if

14   necessary, from day to day, excluding Saturdays, Sundays, and holidays, until completed. The deposition,

15   upon oral examination, shall be recorded by videotape, sound, and stenographic means, pursuant to Rule

16   30(b)(3) of the Federal Rules of Civil Procedure.

17          Defendants request that Plaintiff identify in writing, at least seven (7) business days in advance of

18   the deposition, the person(s) designated by Plaintiff, the job title of each such person(s), and the topic(s)

19   on which each such person(s) will testify. Pursuant to Rules 30(b)(2) and 34 of the Federal Rules of Civil

20   Procedure, Plaintiff is hereby requested to produce, at least seven (7) business days in advance of the

21   deposition, any and all documents and things in its possession, custody, or control that in any way refer to

22   or concern any of the topics set forth in Schedule A that have not previously been produced to Defendants

23   in this action. Defendants reserve the right to continue the deposition should Plaintiff fail to produce such

24   documents and things at least seven (7) days before the deposition.

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      META DEFENDANTS’ NOTICE OF DEPOSITION TO PLAINTIFF COMMONWEALTH OF KENTUCKY PURSUANT TO FEDERAL RULE OF
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 1   Dated: January 21, 2025                     COVINGTON & BURLING LLP
                                                 By: /s/ Ashley M. Simonsen
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 3                                               COVINGTON & BURLING LLP
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 4                                               Los Angeles, CA 90067
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 6

 7                                               Phyllis A. Jones, pro hac vice
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12
                                                 Attorney for Defendants Meta Platforms,
13                                               Inc. f/k/a Facebook, Inc.; Instagram,
                                                 LLC; Meta Payments, Inc.; and Meta
14
                                                 Platforms Technologies, LLC
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      META DEFENDANTS’ NOTICE OF DEPOSITION TO PLAINTIFF COMMONWEALTH OF KENTUCKY PURSUANT TO FEDERAL RULE OF
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 1                                                SCHEDULE A

 2                                                DEFINITIONS

 3          1.      “Complaint” refers to the Civil Enforcement Complaint in this matter filed by Plaintiff on
 4
     October 24, 2023, in the United States District Court for the Northern District of California.
 5
            2.      “Defendants” refers to Meta Platforms, Inc., Instagram, LLC, Meta Payments, Inc., and
 6
     Meta Platforms Technologies, LLC.
 7

 8          3.      “Defendants’ Services” means Facebook and Instagram.

 9          4.      “JUUL Litigation” refers to investigations conducted by and litigation brought by state

10   attorneys general against JUUL Labs, Inc., alleging that the company marketed e-cigarettes and vaping
11   products to minors and misled consumers about the safety and addictiveness of its products.
12
            5.      “Opioid Litigation” refers to investigations conducted by and litigation brought by state
13
     attorneys general against opioid manufacturers, distributors, and related parties, alleging that they created
14
     or contributed to an opioid crisis.
15

16          6.      “State” refers to the Commonwealth of Kentucky, including, but not limited to, the

17   executive and legislative branches, agencies, offices, departments, divisions, commissions, committees,

18   agents, employees, boards, instrumentalities, vendors (to the extent the State has possession, custody, or
19
     control over them), administrators, and other persons or entities acting on behalf of the State, including,
20
     but not limited to, the agencies and other entities whose information has been deemed within the State’s
21
     control for the purposes of discovery in Magistrate Judge Kang’s September 6, 2024 order (ECF No. 1117)
22
     and any other related entities.
23

24          7.      “Social Media Platforms” means a digital service that facilitates interactions between two

25   or more distinct but interdependent sets of users, including but not limited to Facebook, Instagram,
26   Snapchat, TikTok, YouTube, Twitter (or “X”), Pinterest, LinkedIn, BeReal, Lapse, Reddit, Threads,
27
     VSCO, Goodreads, Quora, Discord, Twitch, and Tumblr.
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      META DEFENDANTS’ NOTICE OF DEPOSITION TO PLAINTIFF COMMONWEALTH OF KENTUCKY PURSUANT TO FEDERAL RULE OF
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 1             8.      “Relevant Period” is defined as January 1, 2012 to April 1, 2024.
 2             9.      All words, terms, and phrases not specifically defined herein are to be given their normal
 3
     and customary meaning in the context in which they are used in this Notice.
 4

 5                                                       TOPICS

 6
               1.      Policies, procedures, and practices applicable to the State (including without limitation to
 7
     employees of the State and its agencies) regarding the use of Social Media Platforms, including without
 8

 9   limitation any changes to these policies, procedures, and practices during the Relevant Period.

10             2.      The State’s use of Social Media Platforms including but not limited to advertisement or

11   promotion of, or by, the State or the State’s programs on Social Media Platforms during the Relevant
12
     Period.
13
               3.      Programs, initiatives, efforts, or actions considered, proposed, taken by, and/or involving
14
     the State (including without limitation any State agency) to encourage, promote, or discourage the use of
15
     Social Media Platforms during the Relevant Period.
16

17             4.      During the Relevant Period, programs, initiatives, efforts, or actions considered, proposed,

18   taken by, and/or involving the State to address the use of Social Media Platforms by individuals under the

19   age of 18, including without limitation:
20
                    a. Any program, initiative, effort, or action to discourage or prevent individuals under the age
21
                       of 18 from using, or to decrease their usage of, Social Media Platforms; and
22
                    b. Any program, initiative, effort, or action to encourage or promote the use of Social Media
23

24                     Platforms by individuals under the age of 18.

25             5.      The State’s communications and/or collaboration with any Social Media Platform on any

26   program, initiative, effort, or other action related to, or directed at, individuals under the age of 18 who
27   use Social Media Platforms during the Relevant Period.
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      META DEFENDANTS’ NOTICE OF DEPOSITION TO PLAINTIFF COMMONWEALTH OF KENTUCKY PURSUANT TO FEDERAL RULE OF
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 1          6.      The State’s communications and/or collaboration with any third party concerning any
 2   actual or potential program, initiative, effort, or other action related to, or directed at, the use of Social
 3
     Media Platforms by individuals under the age of 18, and/or the mental, social, emotional, or behavioral
 4
     health and wellbeing of individuals under the age of 18, during the Relevant Period.
 5
            7.      Studies, reports, programs, initiatives, efforts, or actions proposed, taken by, or involving
 6

 7   the State that sought to provide internet access or phones, computers, or other electronic devices to

 8   individuals under the age of 18 during the Relevant Period.

 9          8.      Research, investigations, tests, studies, surveys, reports, evaluations, or analyses related to
10
     Social Media Platforms during the Relevant Period, including without limitation the use of Social Media
11
     Platforms by individuals under the age of 18 and the potential benefits and/or harms created by the use of
12
     Social Media Platforms by individuals under the age of 18.
13
            9.      Consumer complaints to the State about the use of Social Media Platforms by individuals
14

15   under the age of 18 during the Relevant Period, including without limitation any harms caused by such

16   use.
17          10.     Any public or non-public meetings held by the State related to Social Media Platforms
18
     during the Relevant Period, including without limitation the use of Social Media Platforms by individuals
19
     under the age of 18.
20
            11.     Any investigations or inquiries by the State into Social Media Platforms for possible
21

22   violations of the State’s consumer protection laws during the Relevant Period.

23          12.     Any State effort to suspend, revoke, fine, or otherwise sanction Defendants or any other

24   company owning or operating a Social Media Platform for possible violations of the State’s consumer
25   protection laws during the Relevant Period.
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      META DEFENDANTS’ NOTICE OF DEPOSITION TO PLAINTIFF COMMONWEALTH OF KENTUCKY PURSUANT TO FEDERAL RULE OF
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 1          13.       The State’s investment in and/or revenues, income, or any other financial benefit from or
 2   related to any of the Defendants, Defendants’ Services, and/or any Social Media Platform during the
 3
     Relevant Period.
 4
            14.       Legislation or policies proposed by or on behalf of the State, regardless of whether such
 5
     legislation or policies were enacted, regarding the use of Social Media Platforms by individuals under the
 6

 7   age of 18 during the Relevant Period.

 8          15.       Studies, research, tests, programs, initiatives, efforts, or actions proposed, taken by, or

 9   involving the State to address the mental, social, emotional, or behavioral health and wellbeing of
10
     individuals under the age of 18 during the Relevant Period (including, but not limited to, depression,
11
     anxiety, suicide, eating disorders, self-harm, loss of sleep, compulsive use of Social Media Platforms, and
12
     addiction).
13
            16.       Legislation or policies proposed by or on behalf of the State, regardless of whether such
14

15   legislation or policies were enacted, regarding the mental, social, emotional, or behavioral health and

16   wellbeing of individuals under the age of 18 during the Relevant Period.
17          17.       The State’s knowledge and/or understanding of different factors that impacted the mental,
18
     social, emotional, or behavioral health and wellbeing of individuals under the age of 18 during the
19
     Relevant Period, including but not limited to any assessment or evaluation of such factors by the State.
20
     For avoidance of doubt, this Topic includes, without limitation, the State’s knowledge and/or
21

22   understanding of how the following factors impacted the mental, social, emotional, or behavioral health

23   and wellbeing of individuals under the age of 18:

24                 a. Social Media Platforms;
25                 b. Video games usage;
26
                   c. Cell phone usage;
27
                   d. Messaging usage;
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                                                           7
      META DEFENDANTS’ NOTICE OF DEPOSITION TO PLAINTIFF COMMONWEALTH OF KENTUCKY PURSUANT TO FEDERAL RULE OF
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 1                e. Usage of other electronics, applications, or internet sites apart from usage of Social Media
 2                   Platforms;
 3
                  f. COVID-19 and/or remote learning;
 4
                  g. Use of drugs or alcohol;
 5
                  h. The opioid and fentanyl epidemic;
 6
                  i. Poverty, homelessness, lack of health insurance, and/or food insecurity;
 7

 8                j. Physical health including nutrition, exercise, weight management, sleeping habits, and

 9                   sexual activity;
10                k. Family trauma or deaths;
11
                  l. Family dynamics, such as divorce, adoption, and foster care;
12
                  m. Academic pressure;
13
                  n. Violence, including school violence, gang violence, and domestic violence;
14

15                o. Bullying or verbal abuse apart from usage of Social Media Platforms;

16                p. Political polarization;

17                q. Physical and mental disabilities;
18                r. Natural disasters;
19
                  s. Climate change;
20
                  t. Discrimination and inequity; and/or
21
                  u. Global warfare and conflict.
22

23          18.      Mental, social, emotional, or behavioral health services provided by the State during the

24   Relevant Period to individuals under the age of 18, including without limitation such individuals who use

25   Social Media Platforms.
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      META DEFENDANTS’ NOTICE OF DEPOSITION TO PLAINTIFF COMMONWEALTH OF KENTUCKY PURSUANT TO FEDERAL RULE OF
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 1          19.     Budgeted and actual expenditures by the State during the Relevant Period related to the
 2   mental, social, emotional, or behavioral health and wellbeing of individuals under the age of 18, including
 3
     without limitation such individuals who use Social Media Platforms.
 4
            20.     The factual basis for the State’s belief that Defendants have made misrepresentations to the
 5
     State or State residents during the Relevant Period, including but not limited to the identification of such
 6

 7   misrepresentation, when and where the misrepresentation was made, who made it, and the factual basis

 8   for the State’s belief that such misrepresentation was material to the State or the State residents.

 9          21.     The factual basis for the State’s belief that Defendants engaged in unfair, deceptive, or
10
     unconscionable practices during the Relevant Period, including but not limited to any assessment or
11
     evaluation of such practices by the State.
12
            22.     The factual basis for the State’s belief that the State or State residents suffered harm related
13
     to the use of Social Media Platforms by individuals under the age of 18 during the Relevant Period,
14

15   including but not limited to any assessment or evaluation by the State of such harm.

16          23.     The factual basis for the relief that the State seeks in this case, including but not limited to
17   statutorily defined methodologies or formulas cited in this case as supporting requested relief (as offered
18
     by the MDL State Plaintiffs in a January 6, 2025 e-mail to Meta).
19
            24.     The factual basis for any expenses or costs incurred by the State or State residents related
20
     to the use of Social Media Platforms by individuals under the age of 18 during the Relevant Period,
21

22   including but not limited to any assessment or evaluation of such expenses or costs by the State.

23          25.     Any financial arrangements, including without limitation the allocation of litigation

24   expenses or any awarded damages or civil penalties among the States, contingency fee agreements, or cost
25   sharing agreements, entered into by the State for this litigation.
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      META DEFENDANTS’ NOTICE OF DEPOSITION TO PLAINTIFF COMMONWEALTH OF KENTUCKY PURSUANT TO FEDERAL RULE OF
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 1          26.     The State’s activity related to bringing this lawsuit, including (i) timing, procedures,
 2   decision making process, and approval for filing the Complaint, and (ii) the State’s consultation,
 3
     collaboration, or agreements with outside entities or people.
 4
            27.     The State’s involvement in other lawsuits alleging similar mental or physical health
 5
     injuries, regardless of time period, including without limitation litigation involving Social Media
 6

 7   Platforms, internet service providers, telecommunication providers, video game developers, application

 8   developers, toy manufacturers and the JUUL and the Opioid Litigation.

 9          28.     Policies and procedures for document or data retention, preservation, destruction, or
10
     disposal applicable to the State during the Relevant Period, including without limitation all such policies
11
     or procedures undertaken or implemented in connection with this litigation.
12
            29.     The factual basis for the State’s belief that individual(s) under the age of 13 used Instagram
13
     or Facebook during the Relevant Period, including but not limited to any assessment or evaluation by the
14

15   State of such use.

16          30.     The factual basis for the State’s belief that the State or State residents have suffered harm
17   related to the use of Instagram or Facebook by any individual(s) under the age of 13 during the Relevant
18
     period, including but not limited to any assessment or evaluation of such harm by the State.
19
            31.     The State’s consideration, analysis, or views regarding any Social Media Platform directed
20
     at children under the age of 13, including without limitation a potential version of Instagram for children
21

22   under the age of 13.

23          32.     The State’s May 10, 2021 letter to Mark Zuckerberg regarding “Facebook’s Plans to

24   Develop Instagram for Children Under the Age of 13,” including without limitation any consultation with
25   any other State regarding this letter.
26
            33.     Any communication between the State Attorney General’s Office and any federal or state
27
     government agency, office, department, or division (including without limitation any office of the
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                                                         10
      META DEFENDANTS’ NOTICE OF DEPOSITION TO PLAINTIFF COMMONWEALTH OF KENTUCKY PURSUANT TO FEDERAL RULE OF
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 1   Attorney General of another state, Department of Mental Health in this or any other state, Department of
 2   Education in this or any other state, Governor’s office in this or any other state, FTC, or any other federal
 3
     or state government entity or body) regarding or relating to this litigation or the subject matter of this
 4
     litigation from January 1, 2021 to the present.
 5
            34.     Any communication between the State Attorney General’s Office and any former
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 7   employee of Defendants, or such employees’ representatives, regarding or relating to this litigation or the

 8   subject matter of this litigation from January 1, 2021 to the present.

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      META DEFENDANTS’ NOTICE OF DEPOSITION TO PLAINTIFF COMMONWEALTH OF KENTUCKY PURSUANT TO FEDERAL RULE OF
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 1                                      CERTIFICATE OF SERVICE

 2          I hereby certify that on January 21, 2025, a true and correct copy of Meta Defendants’ Amended

 3   Notice of Deposition to Plaintiff Commonwealth of Kentucky Pursuant to Federal Rule of Civil

 4   Procedure 30(b)(6) was served upon the following by email:

 5

 6          J. Christian Lewis (KY Bar No. 87109),
            Pro hac vice
 7          Philip Heleringer (KY Bar No. 96748),
            Pro hac vice
 8          Zachary Richards (KY Bar No. 99209),
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16          Attorneys for Plaintiff the Commonwealth of Kentucky

17

18
                                                 By:     /s/ Ashley M. Simonsen
19
                                                         Ashley M. Simonsen
20
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21                                               Facebook, Inc.; Instagram, LLC; Meta Payments,
                                                 Inc.; and Meta Platforms Technologies, LLC
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      META DEFENDANTS’ NOTICE OF DEPOSITION TO PLAINTIFF COMMONWEALTH OF KENTUCKY PURSUANT TO FEDERAL RULE OF
                                                 CIVIL PROCEDURE 30(b)(6)
